

People v Graham (2020 NY Slip Op 06020)





People v Graham


2020 NY Slip Op 06020


Decided on October 22, 2020


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: October 22, 2020

Before: Renwick, J.P., Manzanet-Daniels, Gesmer, Oing, JJ. 


Ind No. 5310/15 3641/16 5310/15 3641/16 Appeal No. 12158-12158A Case No. 2018-2670 

[*1]The People of the State of New York, Respondent,
vAndre Graham, Defendant-Appellant.


Stephen Chu, Interim Attorney-in-Charge, Office of the Appellate Defender, New York (Mandy E. Jaramillo of counsel), for appellant.
Cyrus R. Vance, Jr., District Attorney, New York (Brent Ferguson of counsel), for respondent.



Judgment, Supreme Court, New York County (Patricia Nunez, J.), rendered September 28, 2017, convicting defendant, upon his plea of guilty, of criminal sale of a controlled substance in the third degree and criminal possession of a controlled substance in the fourth degree, and sentencing him to concurrent terms of 5½ years with 2 years' postrelease supervision, unanimously modified, as a matter of discretion in the interest of justice, to the extent of reducing the sentence to 4½ years with 1 year postrelease supervision, and otherwise affirmed. Judgment, same court (Felicia Mennin, J.), rendered January 2, 2018, convicting defendant, upon his plea of guilty, of three counts of criminal sale of a controlled substance in the third degree, and sentencing him to concurrent terms of 3½ years with 2 years' postrelease supervision, unanimously modified, as a matter of discretion in the interest of justice, to the extent of reducing the period of postrelease supervision to 1 year, and otherwise affirmed.
We find the sentences excessive to the extent indicated. The record does not establish valid appeal waivers.THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: October 22, 2020








